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 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                             EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     )       No. 2:13-CR-00325-GEB
                                                   )
12                                                 )       STIPULATION AND
            Plaintiff,                             )       [PROPOSED] ORDER CONTINUING CASE
13                                                 )       AND EXCLUDING TIME
     v.                                            )
14                                                 )
     CARLOS ALFREDO OLAZABAL,                      )       Date: January 24, 2014
15                                                 )       Time: 9:00 am.
     MIGUEL FELIX LOPEZ.                           )       Judge: Honorable Garland E. Burrell, Jr.
16                                                 )
            Defendants.                            )
17                                                 )
                                                   )
18

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20          IT IS HEREBY stipulated between the United States of America through its undersigned
21   counsel, Samuel Wong, Assistant United States Attorney, attorney for plaintiff, together with
22   Adam Koppekin, attorney for defendant Carlos Olazabal and Kyle Knapp, attorney for
23   defendant Miguel Felix-Lopez that the previously-scheduled status conference, currently set for
24   January 24, 2014, be vacated and that the matter be set for status conference on March 28, 2014
25   at 9:00 a.m.
26          Counsel have conferred and this continuance is requested to allow defense counsel
27   additional time to finalize review of the discovery, meet again with our clients, investigate
28   possible defenses and to continue exploring the relevant sentencing guidelines that would apply


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 1   to our respective clients. In addition, the task of communicating with our respective clients has
 2   been hindered to a degree as each defendant’s primary language is Spanish and an interpreter is
 3   needed to facilitate communications.
 4          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 5   continuance outweigh the best interests of the public and the defendants in a speedy trial and
 6   that time within which the trial of this case must be commenced under the Speedy Trial Act
 7   shall therefore be excluded under 18 U.S.C. Section 3161(h)(7) (A) and (B) (iv), corresponding
 8   to Local Code T-4 (to allow defense counsel reasonable time to prepare) from the date of the
 9   parties’ stipulation, January 21, 2014 up to and including March 28, 2014.
10   IT IS SO STIPULATED.
11
     Dated: January 21, 2014                                     BENJAMIN B. WAGNER
12                                                               UNITED STATES ATTORNEY

13                                                       by:     /s/ Samuel Wong
                                                                 SAMUEL WONG
14
                                                                 Assistant U.S. Attorney
15                                                               Attorney for Plaintiff

16   Dated: January, 2014                                        /s/ Adam M. Koppekin
17
                                                                 ADAM M. KOPPEKIN
                                                                 Attorney for Defendant
18                                                               Carlos Alfredo Olazabal
19   Dated: January 21, 2014                                     /s/ Kyle R. Knapp
20
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
21                                                               MIGUEL FELIX LOPEZ
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 1
                                         [PROPOSED] ORDER
 2
            The Stipulation of the parties in its entirety is hereby accepted and adopted as the Court's
 3
     Order. The requested continuance is GRANTED. This matter shall be dropped from this
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     court’s January 24, 2014 criminal calendar and re-calendared for status conference on March
 5
     28, 2014.
 6
            Based on the representations of the parties the court finds that: (1) the failure to grant
 7
     such a continuance in this case would deny counsel for defendants the reasonable time
 8
     necessary for effective preparation, taking into account the exercise of due diligence; and (2) the
 9
     ends of justice served by granting this continuance outweigh the best interests of the public and
10
     the defendants in a speedy trial. The Court orders that the time period from the filing of the
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     parties' stipulation on January 21, 2014, through and including the March 28, 2014, status
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     conference shall be excluded from computation of time within which the trial of this case must
13
     be commenced under the Speedy Trial Act.
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15          IT IS SO ORDERED.

16   Dated: January 24, 2014
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